CaS€ 1217-CV-01152-RB.]:|\/|EH DOCUment 116 Filed 05/22/18 USDC CO|O'l'BdO Pag€ 1 Of 57

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U.S. DlSTRlCT COUR`
DlSTRlCT OF COLOR;\.DO

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IN THE UNITED sTATEs DISTRICT coURT JEFFR£CYL §R§(OLWEL»L
FoR THE DIsTRIcT oF coLoRAl)o

civil Accion No. 17-cv-1152-RBJ-MEH ~ -»BY~_--D~EE*CL”“
BENJAMIN S. CARSON, Secretary of Housing and Urban Development,
Plaiiitift;
v.
ESTATE OF VERNA MAE GOLZ,
WILLIAM J. GOLZ, MARCUS J. GOLZ, MATTHEW J. GOLZ, and
UNKNOWN HEIRS AND CLAIMANTS OF THE ESTATE OF VERNA MAE GOLZ,

Defendants.

 

REPLY IN SUPPORT OF DEFENDANT'S _
‘ MOTION TO DISIV.|ISS THE ESTATE AS A DEFENDANT

 

Defendant Willian"i J. Golz, Ph.D., (“Defendant” or “Dr. Golz”), is the son of Verna Mae

Golz, (“Verna Mae”), and was personal representative and sole heir of her estate, (the “Estate”),

' through May 2, 2018, When Probate Was closed. Doc. 108, EX. B.l On April 23, 2018, Dr. Golz

became the deed holder, (Doc. 108, EX. A), of the property at 130 Beaver Creek Drive, Neder-

land, Colorado, (the “Property”), Which is security for a Home Equity Conversion Mortgage

loan, (the “HECM loan”), that Was assigned to the Secretary of Housing and Urban Develop-
ment, (“HUD” or the “agency”), in December 2011. Doc. 31, 11 43.

PRELIMINARY STATEMENT
Defendant accepts that Were the United States to have a viable claim against Verna Mae

Which could be asserted against the Estate or Dr. Golz it Would not be barred by a state nonclaim

1 In prior pleadings, Defendant has referred to Court filings by their docket entry number preceded by
“ECF”; henceforth, Defendant Will use the standard prefix, “Doc.”

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statute. Plaintiffs purported claim, predicated upon the dubious assertion that Verna Mae ceased
to principally reside in the Property prior to her death, postulates a breach of contract claim for
_which the only remedy provided by the Notes and Deeds of Trust is foreclosure and sale of the
Property, subject to the right of reinstatement Even if that remedy could be effected by a sale of
the Property retrospective to Verna Mae's lifetime, it is difficult to imagine how the Secretary
would satisfy the constitutional requirement of providing Verna Mae with a meaningful pre- or
post-deprivation hearing or with her contractual right to reinstate.

Magistrate Judge Michael E. Hegarty, (“Judge Hegarty”), controverted Defendant's in-
tent in the motion to dismiss the Estate, converting it into a motion for summary judgment thus
providing Plaintiff with a forum for a factual dispute predicated upon a contract claim. Even if
that claim Were not so obviously defeated by the plain language of the Notes and Deeds of Trust,
the Estate should have been dismissed by this Court for lack of subject-matter jurisdiction over a
retrospective foreclosure against a decedent or over nullification of a testamentary document.

Given the operative facts and matters at issue, Defendant has been as concise as justice
permits whereby any further abridgment of this,discussion Would contravene the interests of jus-
tice. This is good cause for requesting that the District Judge permit this Reply to exceed by two
pages the preferred five-page limit. See Judge R. Brooke Jackson's Practice Standards, at 2.

BACKGROUND

In an April 6, 2018 email, Assistant United States Attorney, (“AUSA”), Jasand Mock ad-
vised that he intended to depose Defendant in an effort to establish that Verna Mae “ceased prin-
cipally residing on the Property and became a domiciliary of Maricopa County[.]” On April 9,

Defendant moved the Court to vacate the April-16, 2018 Status Conference, (the “Status Con-
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ference”), to allow him to address Verna Mae's principal-residence in a motion for a protective
order. Doc. 92. That motion was denied by Judge Hegarty. Doc. 98.

During the Status Conference, AUSA Mock asked the Court to entertain a foreclosure
claim predicated upon a breach of the Notes concomitant to Plaintiffs presumption that Verna
Mae ceased to principally reside in the Property prior to he_r death. Notwithstanding that the
Court provided no notice to Defendant that he would be appearing at the Status Conference not
as his own attorney but to give testimony, Judge Hegarty pursued discovery on Plaintiffs behalf
by demanding that Dr. Golz answer a series of questions regarding Verna Mae's principal resi-
dence in 2010. See Doc. 100, at 7.

To answer Judge Hegarty's questions about Verna Mae's intent as to her principal resi- .
dence, Defendant submitted a Position Paper with exhibits, (Doc. 103, at 7-9, § I\/.A.), subject to
the intervening caveat that “nothing in the law requires Defendant to establish his late-mother's
intent and actions as to her principal residence.” Doc. 100, at 8. Judge Hegarty dismissed Defen-
dant's caveat, ignored the language in the motion to dismiss the Estate, (Doc. 103, at 11, 1[ 2),
then reached back into the Position Paper and misrepresented that, since Defendant “wishes to
support his Motion to Dismiss (liberally construed as brought pursuant to Fed. R. Civ. P. 12(b)
(6)) with documents outside the pleadings, it is proper to inform the parties that the Court will
convert the motion into a Motion for Summary Judgment[.]” Doc. 105.

Defendant immediately objected to Judge Hegarty's misrepresentation as inconsistent
with Dr. Golz's pleadings and stated intentions. Doc. 106. That objection was overruled by the
District Judge With a text entry. Doc. 107. To Plaintift‘s benefit, without provision of any dis-

course on the Court's jurisdiction over, or the legal sufficiency of, Plaintiffs purported claims,
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, Judge Hegarty, sua sponte, solicited Plaintiffs pleadings‘and extended the time for Plaintiff to re-
ply. Doc. 114. In response to the Court's solicitation of a factual inquiry, Plaintiff provided docu-
ments that have no probative value as to any matter now before the Court nor do they have any
purpose whatever other than as an artifice to insinuate scandal and intrigue.

Judge Hegarty's series of actions were prejudicial to Defendant, whom pleads facts with
care and argues with as much command of substance; and respect for procedure, as is possible
given the time he has available for legal research. Defendant is not, however, a trained attorney
but a scientist, an engineer, and a teacher, whose pleadings are entitled not only to a liberal con-
struction.but to ah interpretation that is consistent With their intended meaning. Given any fair
reading, Defendant's motion to dismiss the Estate should have been evaluated pursuant to another
standard, including, but not limited to, Fed. R. Civ. P. 12(b)(1), for lack of subject-matter juris-
diction: 7 v

AilGUMENT

Plaintiff Was notified in a September-17, 2014 letter nom Jon Kitchel, Esq., that Defen-
dant had opened probate in Maricopa County, Arizona. Doc. 81, Ex. N. The agency now asserts
that three years later, in their May-9, 2017 complaint, Plaintiff made a breach of contract claim
against Verna Mae because she “ceased principally residing on the Property[.]” Doc. l, 1[ 50. De-
fendant addressed that averment in the Amended Answer, (Doc. 64, 11 50), and the presumptions
Plaintiff now proffers to suggest that the Property_ceased to be Verna Mae's principal residence
prior to her death are immaterial to any matter now before the Court:

The Second Note, (Doc. 31, EX. 3, ii 4(C)), and Second 1)eed of Trust, (Doc. 31, EX. 5, 11

10), share identical language: “Borrower shall have no personal liability for payment of the debt.
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Lender shall enforce the debt only through sale of the Property[,]” to which the Second Deed of
Trust adds: “Borrower has a right to be reinstated if Lender has required immediate payment in
full. This right applies even after foreclosure proceedings are instituted.” Doc. 31, Ex. 5, 11 11.

The Notes and Deeds of Trust offer Plaintiff no provision to bring any claim against the
Estate, or against Defendant, for Verna Mae's ceasing to principally reside in the `Property. If, in
arguendo, Plaintiff could define a nonfrivolous claim for a retrospective foreclosure prior to May
16, 2014, this would require Plaintiff to petition the courts to invalidate the Personal Representa-
tive's Deed thus reversing the probate court's distribution of the Estate's only asset, the Property,
To be clear, Defendant's action as Personal Representative to distribute the Property and close
Probate did not infringe any rights that Plaintiff could have legitimately enforced in this Court,
for, even if probate were to be reopened, to effect a retrospective foreclosure, the agency would
have to force a retrocession of the Property from the Estate to Verna Mae, nullifying her testa-
mentary document. These are rights that cannot be enforced by this Court which lacks subject-
matter jurisdiction to interfere in the probating or administration of a will. See, e.g., Byers v.
Mcauley, 149 U.S. 608 (1893); see also, e.g., Sutton v. Englz`sh, 246 U.S. 199 (1918).

During the Status Conference, AUSA Mock stated that, “I think Ms. Golz had moved to
Arizona by, perhaps, as early as 2009, which is a breach of the notes[,]” Doc. 99, consequent to
which Plaintiff proposed to effectuate a retrospective foreclosure and sale in 2009 - two years
before Financial Freedom Senior Funding Corp., (“Financial Freedom”), assigned the HECM
loan to the Secretary, (Doc. 31, 1111 29-43), and two years before Financial Freedom and Plaintiff

released Lot 2. See Doc. 64, 1111 71-79; and see Doc. 31, at 6, n.2.

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The agency asks to assert rights that it claims accrued to Plaintiff in 2009, prior to the re-
lease of Lot 2, consequent to which Verna Mae, and by succession, her Estate, would be entitled
to enforce their retrospective rights: to an $89,000 setoff for the market-depreciation loss on Lot
2, to void the Notes and Deeds for fraud in the`inducement, and for any other provable damages
that Verna Mae suffered during the nine years that HUD and their lender wrongfully held Lot 2.
See Doc. 64, 1[1[ 76 and 79; see also Doc. 81, at 2, n.2.

The documented facts of the loan origination are sufficient to the inference that Verna
Mae was deprived of Lot 2, valued at over $100,000, through a fraud. Because that fraud en-
tailed falsification of the settlement statement, i.e., the HUD-l, it was a federal felony. The ~
\lVartime Suspension of Limitations Act, 18 U.S. Code § 3287, has been successfully pleaded by
the United States to pursue prosecutions for criminal fraud beyond any statute of limitation. De-
fendant documented the operative facts of that fraud in a July 11, 2016 letter to the HUD Office
of Inspector General which was copied, on July 12, 2016, to Kevin Traskos, Chief of the Civil
Division for the United States Attomey's Office for the District of Colorado. Exhibit A.

CoNcLUsIoN

Plaintiffs response, (Doc. 115, at 12, n.6), reproduces Line 3 of the Probate Closing
Statement, (Doc 1108, Ex. B, at 1), and misrepresents to the Court that Defendant “did not dis-
close the existence of the United States’ pending claim.” As made clear in Defendant's plead-
ings, (Doc. 103, at 11), the Notes and Deeds of Trust do not constitute a claim against the Estate
but a lien against the Property, which Defendant distributed with a Personal Representative's

Deed, cum onore.

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As AUSA Mock was advised via email, prior to distributing the Property, Defendant con-
sulted a probate attorney in Colorado.2 As Defendant has noted ¥in the pleadings, he discussed
Plaintiff‘s lien with the Arizona attorney who opened Probate for the Estate in 20`14, who re-
viewed the Probate Closing Statement in light of that lien and the relevant facts.3 Whereas nei-
ther Plaintiff nor any other claimant had any legitimate claim pending that could have been as-
serted against the Estate in this Court, or in any other court, Probate was closed, whereupon De-
fendant respectfully requests that this Court dismiss the Estate as a defendant without further de-
lay.

DATED at Scottsdale, Arizona this 215t day of May, 2018,

Respectfully submitted,

s/William J. Golz
William ]. Golz, Ph.D.

, Defendant, pro se
29714 N. 152nd Way
Scottsdale, AZ 85262
Phone/Facsimile: (480) 816-5019
Email: wgolz@alumni.lsu.edu

2 In an April 20, 2018 email to Judge Hegarty, AUSA Mock stated that “Dr. Golz has indicated that he
wishes to consult with a Colorado probate attorney and then advise me with regard to his position[.]”
Defendant sought counsel, and, as promised, communicated his position to AUSA Mock.

3 In Plaintiffs response, AUSA Mock misleads the Court with the statement: “On May 2, 2018, Dr.
Golz (representing himself without a lawyer) filed a Closing Statement in the Arizona probate
court[,]” (Doc. 115, at 12), when AUSA Mock was advised that Defendant had consulted With the at-
torney that opened probate for the Estate in 2014. Doc. 108, at 2.

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EXhibit A

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HP Officejet Pro 8610 Series Fax Log for
Dr. Wi|liam Golz, Ph.D.
(303) 258-0443
Jul12 201612:12PM

 

Last Transaction

Date Time Type Station ID Duration Pages Resu|t
Digita| Fax

Ju112 11:58AM Fax Sent 303-454-0400 13:01 46 OK

N/A

Case 1:17-Cv-01152-RB.]-I\/|EH Document 116 Filed 05/22/18 USDC Co|orado Page 10 of 5'7

v

DATE: JULY 12"‘, 2016

To: KEvIN TRAsKos, EsQ.
CHIEF, CleL DlvlsIoN
UNiTED STATES ATroRNEY's OFFICE, DIvIsIoN or CoLoRADo
Fsz (303) 454-0400

FRoM: WILLIAM GoLz, Ph.b.
Fsz (303) 258-0443 ,j

RE: DEMAND LETTER FRoM THE DEPARTMENT oF JUsTIcE, REFERENCING:

AccoUNT No. 2016A58338/PRE
REFERRED AMouNT $275,073.39

PAGEs: FoRTY-Slx (46) lNcLusIvE oF mrs covER PAGE

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ARE HEREBY NormED THAT ANY usE, DIscLosuRE, coPYlNG, DIsTruBu'noN, oR THE TAKING
oF ANY AcHoN lN RELIANCE oN THE coNTENTs oF mrs INFoRMAHoN ls strucer PRoHIBm~;D.
IF You HAvE REcEIvED mrs TRANsMIssloN 1N ERRoR PLEAsE NorlFY ME BY TELEPHONE AT
(303) 258-0443. '

Case 1:17-Cv-01152-RB.]-I\/|EH Document 116 Filed 05/22/18 USDC Co|orado Page 11 of 57

Date July 12“‘, 2016

To Kevin Traskos, Esq.
Chief, Civil Division
United States Attomey's Office, Division of Colorado
1225 17‘*‘ Street, Suite 700
Denver, CO 80202

Via: Facsimile (303) 454-0400 (Enclosure with Exhibits)
Certified Mail No. 7015 0640 0004 4137 0444 (Enclosure without Exhibits)

From William Golz, Ph.D.
13.0 Beaver Creek Drive
Nederland, CO 80466

'Re Demand Letter from the Department of Justice (“DOJ”) referencing:

Account No. 2016A58338/PRE,

Referred Amount $275,073.39°,

regarding the Home Equity Conversion Mortgage loan:
Borrower Verna M. Golz
Prop. Add. 130 Beaver Creek Drive

Nederland, CO 80466

Funded Date 01/24/2002
FHA Case No. 052-1965070

 

Dear Mr. Traskos:

This is to provide the DOJ with my July 11“‘, 2016 letter to the Department of Housing
and Urban Development (“HUD”) Office of lnspector General wherein I discuss Financial
Freedom Senior Funding Corporation's mortgage-origination fraud and their consequent
assignment to the Secretary of HUD of the Deed of Trust that is the security instrument for the
subject debt which HUD proffered to the DOJ for collection.

Sincerely,

%’

William Golz, Ph.D.
Enclosure

CC: Secretary Julian Castro
Jordan C. May, Esq.

.*`

° As detailed in my previous correspondence to the DOJ, the Referred Amount of the debt is an error: pursuant
to HUD directing their servicer, Novad Ma.nagment Consulting, to notify me of their intent to initiate
foreclosure in August 2015, I submitted my first “qualified written request” and “notice of error” to Novad for
their “failure to provide an accurate payoff balance,” per the Real Estate Settlement Procedures Act. When
Novad ignored my request, in March 2016 I filed a complaint with the Consumer Financial Protection Bureau,
asking that the Bureau seek a response from Novad. When the Bureau advised that Novad was ignoring their
requests to register and address my complaint, I contacted Novad and explained that I was awaiting their
response through the Bureau which acts as a neutral third-party in the complaint-resolution process. This
ongoing evasion of my requests for an accurate payoff balance will again prevent me from paying off this loan,
obtaining permitting and completing needed repairs that will be precluded by onset of winter conditions.

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DATE: JULY 12“*, 2016

To: OFFICE oF INsPEcToR GENERAL (“OIG”)
DEPARTMENT oF HoUsING AND URBAN DEvELoPMENT (“HUD”)
Fsz (202) 708-4829

FRoM: Dr. WILLIAM GoLz, Ph.D.
FAX: (303) 258-0443

RE: REQuEsT To THE OIG FoR AN INvEsnGATIoN lN'ro MoRTGAGEE's INTENTIONAL FRAUD
DURING LoAN oRlGINATloN AND coNsEQUEN'r, PoTENnAL MAIL AND/ok wIRE FRAUD
INvoLva ANY MsREPREsENTAnoNs MoRTGAGEE MAY HAVE MADE To FAclLlTATE A
cLAIM To THE SECRErARY or HUD FoR FEDERAL HoUsn\IG ADMINisTRATIoN MoRTGAGE
INSURANCE FoR THE HoME EQUITY CoNvERsIoN MoRTGAGE LoAN: -

MoRTGAGEE FINANCIAL FREEDOM SENIoR FUNDING CoRPoRATioN AND SII
MoRToAGoR VERNA M. GoLz
PRoP ADDREss LoT 19 (BEAVER VALLEY ESTATES)
130 BEAVER CREEK DRIvE
NEDERLAND, CO 80466
FUNDED DATE 01/24/2002
FHA CAsE No. 052-1965070

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- CONFIDENTIAL!TY NOTICE -

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coNFIDENnAL n\IFoRMATloN BELoNGING To sENDER wHIcH is 1NTENDED oNLY FoR THE UsE oF
THE 1NDIV1DUAL oR ENTITY HEREIN NAMED. IF You ARE NoT THE INTENDED RECIPIENT, You
ARE HEREBY Norn=IED THAT ANY UsE, DIscLosURE, coPYlNG, DrsTRIBUTroN, oR THE TAKING
oF ANY AcnoN IN RELIANCE oN THE coNrENTs oF mrs mFoRMAnoN ls sTRIcTLY PRoHIBIrED.
rF YoU HAvE REcErvED ms TRANsMIssIoN 1N ERRoR PLEAsE NorlFY ME BY TELEPHoNE AT
(303) 258-0443.

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DATE JULY 11"*, 2016

FRoM Dr. WILLlAM GoLz, Ph.D. '5’
130 BEAvER CREEK DRIvE
NEDERLAND, CO 80466

To OFFICE or INsPEcToR GENERAL
U.S. DEPARTMENT oF HousmG AND URBAN DEvELoPMENT (“HUD”)
451 7“‘ STREET, SW
WAsHINGToN, DC 20410 .
VIA: FAcslMILE (202) 708-4829 AND CERTIFIED MAIL No. 7015 0640 0004 4137 0451

RE HoME EQUrrY CoNvERsIoN MoRTGAGE (“HECM”) LoAN:

' MoRTGAGEE FINANCIAL FREEDOM SENIoR FUNDING CoRPoRATloN (“FF”) AND SII
MoRTGAGoR VERNA M. GoLz
PRoP ADDR_Ess LoT 19 OZEAVER VALLEY EsrATEs)
t - § l-130 BEAVER CREEK DRIVE
’- NEDERLAND, CO 80466
FuNDED DATE 01/24/2002
FHA CAsE No. 052-1965070:

(i) Fraud (January 2002): prior to closing, the lender requested “Condition Responses”
wherein the appraiser identified Lot 2 as separately salable-with tax and parcel numbers
separate from the dwelling and its site, Lot 19; FF then used the Deed of Trust (“DOT”) to
transfer ownership of Lot 2 to FF constituting an intentional theft and a payment by my moth-
er to FF which the Mortgagee did not disclose on the HUD-l .

(ii) Gain (August 2011): when FF released Lot 2, my mother's loss (of principal due to depre-
ciation) was approximately $89,261; FF's gain was an equivalent $89,261 (the “Gain”).

(iii) Misrepresentation (December 2011): if`, in keeping With Generally Accepted Account-
ing Principles (“GAAP”) and federal regulation, FF had credited the Gain to my mother's
loan account, her balance would have fallen below the 98% threshold required for FF to make
a claim for fiill payment on the Federal Housing Administration (the “FHA”); FF did not
credit the “Gain to my mother's account and, in apparent furtherance of their original fraud,
consummated their claim on FHA by directing Mortgage Electronic Registration Service Inc
(“MERS”) to assign the DOT to the Secretary of HUD.

 

FACTS

MoRTGAGEE FRAUD AT LoAN ORIGINATION

My mother Verna M. Golz was aged seventy-five (75) years when she executed an
agreement that FF proffered to her as necessary to obtain her HECM loan, The fact of
FF's fraud is unambiguous, as explicated below in context of the several key loan-docu-
ments that are provided as exhibits:

On December 6"`, 2001, FF's appraiser signed a report opining a value of
$246,000 for my mother's house and its site, Lot 19 (the “Appraisal”). Exhibit 1.

On December 7“‘, 2001, the loan originator_Don Wilson of First National
Bank Mortgage, transmitted a Good Faith Estimate (the “GFE”) to my mother to

provide her with “updated numbers based on your appraisal,” Which the GFE con-
fnmed as $246,000. Exhibit 2.

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To: OIG-HUD JULY 11“*, 2016 FRoM: Dr. WILLIAM GoLz, Ph.D.
CERTn=lED MAIL No. 7015 0640 0004 4137 0451
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Subsequent to the date the Appraisal was signed, but prior to closing, the ap-
praiser provided Condition Responses at “the request of the lender”, which noted,
inter alia: “a second lot owned by Ms. Verna Golz. That lot is Lot 2, Beaver Val-
ley Estates, and is approximately 1 acre. It is separate from the appraised proper-
ty, Lot 19, Beaver Valley Estates, which is approximately 1 acre and has the 1,224
square foot home located there. The lots have never been joined and have separate
parcel numbers and tax identification numbers.” See Exhibit 3.

Notwithstanding the appraiser's condition response that Lot 2, “is separate
from the appraised property, Lot 19,” Mr. Wilson had my mother execute a DOT
that encumbered both Lot 19 and Lot 2 as security for payment of the HECM loan,
Exhibit 4. It is clear from the facts that the lender's use of the DOT to transfer
ownership of Lot 2 from my mother to FF Was an intentional theft that constituted
a payment from my mother to FF which the lender was required to, but did not,
disclose on the HUD-l. Exhibit 5.

ISSUES AND ANALYSIS

VALUATIoN oF LoT 2
AT LoAN ORIGINATION 1N JANUARY 2002

ln the Condition Responses, the appraiser valued Lot 19 at $95,000. See Exhibit 3.
Per the survey documents and the Boulder County Assessor, Lot 19, upon which my late-
mother's dwelling is sited, is 0.92 acres and encompasses no part of Beaver Creek Which
is contained entirely on Lot 2 which is 1.00 acres. Using the appraised value of Lot 19
and making an upward adjustment for an additional 0.08 acres yields a valuation of
$103,261 for Lot 2.‘ (This is a conservative opinion as no upward adjustment has been
made for Beaver Creek, which would increase the value of Lot 2.)

UPoN RELEA sE AND REASSIGNMENT IN 201 1

When FF released Lot 2 to my mother in summer 2011, the only payment made was
$2,500 to her attorney to cover fees and costs. During the period that began that summer
and ended in December 2011, when FF assigned the DOT to the Secretary of HUD, Col-
orado real-estate values, especially those for vacant lots, were at or near their nadir after
the 2008 Global Financial Crisis. Although there were very few land sales bracketing the
period, a comparative market analysis of active listings of l-2 acre, rural lots yields a
plausible estimate of fair market value for Lot 2 as $14,000.

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To: OIG-HUD JULY l 1“*, 2016 FRoM: Dr. WILLIAM GoLz, Ph.D.
CERTIFIED MAIL No. 7015 0640 0004 4137 0451

MoRTGAGEE's GAIN CoRREsPoNDING To MoRTGAGoR's Loss

Since the facts show that FF acted with intent to obtain my mother's vacant property, Lot 2,
without payment, her loss can be evaluated within the purview of the Mandatory Victims Resti-
tution Act, Title 18 U.S. Code § 3663A, where the authority from Which to calculate her eco-
nomic loss is provided by Benjamz`n Robers v. United States, 572 U. S. 310 (2014) as the value
of my mother's property at the moment of FF's original fraud less the depreciated Value of her
property when it was released to her in 2011 Which, using the valuation analysis above, is ap-
proximately $89,261, which, by definition, is in equivalence with the Mortgagee's Gain.

SECRETARY ACCEPTANCE oF_HECM AsslGNMENT AND PAYMENT oF CLAlM wAs
PREDICATED UPoN MIsREPREsENTATIoN BY THE MoRTGAGEE
On December 9"‘, 2011, FF's nominee MERS assigned the DOT to the Secretary of HUD
(the “Assignment”). Exhibit 6:

As a precondition to the Assignment, the Mortgagee was required to certify to the
Secretary that the loan balance had reached 98% of the “maximum claim amount” which,
given the facts, is a misrepresentation: had the Mortgagee credited their Gain of $89,261
to my mother's loan account, as required by GAAP and federal regulation, her loan bal-
ance would have been well below the 98% threshold required for FF to make a claim on
FHA for full payment of the mortgage insurance. FF did not credit the Gain to my
mother's account and in an evident furtherance of their loan-origination fraud perfected
their FHA mortgage-insurance claim by directing MERS to assign the DOT to the Secre-
tary, The failure to credit my mother's account with the Gain may have also created a tax
liability for FF, equivalent to the marginal rate on any portion of that Gain that FF would
have been required to report on their federal tax return that covered the period when the

` release and Assigmnent took place.
COMMENT

The lost-opportunity cost a bank incurs When a mortgage fraud deprives the institution of the
ability to make a more-profitable investment is trivial in comparison to the damages suffered by
my mother pursuant to the fraud FF worked upon her: when Financial Freedom used HUD's
HECM program to rob my 75-year old mother of her vacant property, they stripped her of her
dignity by taking the only means she had left to finance major health and safety repairs when
circumstances deprived her of a basic necessity_a dependable supply of clean water in her
home. See my January 18"1, 2015 letter to Secretary Julian Castro, Exhibit 7.

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FHA#052~1965070
F“°"°: , 01390_801 . .

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Boimwerorowrm VemaM.fiolz '
premiums 130 Beaver greek Drive
Cl¢y Nederland(Mail) ’ Coun\y Bm\lder Sww CO Z\pcod= 80466

Lenderorclem FNB Mortg'<_i' ge Comp§nv/HUD

SCOPE OF THE APPRAISAL
This report as defined by Standard 2.2 of the Uniform Standards of Professional Appraisal Practice is a
summary report and the result of a complete appraisal aualysis.

SITE

The well and septic appear to be properly located on the site and in good working condition. It is not
feasible to connect to public water and sewer systems, which are available in the Town of Nederl:md,
approximately 1/2 mile away. Locations meet HUD standards and specifications No w.ell test was
provided for review.

 

 

ADDITIONAL FEATURES `

The subject property has a sleeping loft area above the front family room, accessible by a ladder. There also
i`s a pantry adjacent to the dining area, built-in shelving in the front family room and fencing along a portion
of the property, which abuts a stream. `

CONDITION OF IIVIPROVEMENTS

The crawl space was weathcrized in 1990. lt is lined with Visquine and the floor is insulated. Other
improvements include: A new kitchen door, leading to the garage; newer storm windows; and newer
ceramic tile in the bath. The attic also has 6-8 inches of blown insulation.

The furnace has been turned off by the owner, and would need to be turned on to determine whether it is
functioning The home also has a broken garage window that would need to be repaired, and is in need of
exterior paint. Because of the age of the home and the concern over the possible existence of lead-base paint
materials, the existing paint would need to be scraped and the scrapings would need to be properly disposed
of. .

COMN[ENTS ON SALES COMPARISON .

An extensive search was performed to find mountain homes on similar small acreage, and similar to
the subject property in quality, design, GLA and market appeal. The comparables used were the best
available at the time of this report and bracket the subject property in GLA.

Adjustments are as follows: 320,000 against one property with nearly 2 acres, based on market
rcaction; $20,000 for properties with a superior quality of construction; $20,000 against properties that
are newer, or those that have been updated/remodeled and have a newer effective age, as a result; 3500
per bathroom fixture; $30 per above-grade square foot; $5 per basement square foot, plus an additional
$5 per square foot for finish; $2,000 for properties with electric lieat, an inferior heat source; $2,500
per garage bay; $500 per deck; and $l,000 for a fireplace and $2,000 for a wood stove.

Comp 1 is an older sale, but is included because of similarities in square .footage and acreage. lt is
adjusted for: One less bathroom fixture; less above-grade square footage; a basement; electric
baseboard heat; no garage; a deck; and no wood burning fireplace.

Comp 2 is a more recent sale and Was weighed heavily in this analysis. lt is a custom cedar home, and
was adjusted _for having a superior quality of construction. lt also was adjusted for: Age; three
additional bathroom fixtures; less square footage; an additional garage bay; two decks; and no
fireplace or wood burning stove.

Comp 3 is an older sale, but is the only one within the subdivision that is similar to the subject in
square footage and market~appeal. lt was adjusted for having: More acreage; being in superior
condition, because it has undergone updating/remodeling, which includes pine floors, saltillo tile,
custom wood work, etc.; two additional bathroom fixtures; more square footage; no garage; a deck;
and no fireplace. `

FINAL RECONCILIATION

The cost approach was considered, but N/A because of the age of the subject property. The income
approaches was considered but N/A due to the lack of rental data in this predominantly owner occupied area
and/or the lack of rental property sales to determine a GRM.

 

 

 

Rocky Mountain Appraisal Network

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Complete 1pr"“al Analysis - Summary Appral Rer "'t FHA#052-1965070

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   
 
   

 

 

 

 

 

Property Descr|ptlon U'\. JRL `ESIDENTlAL APPRA|SAL REPO\ . . Fl|e No. OlKGOSO]
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u' manor-sparrow 158314001019 Sehedule #0023853 nwa 2000 R.E.rams 798. 2 Spedal‘ $ Nonel
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.}' Lender/ellen H\_IB Mortgage Companv[HUD ‘Addmss 1650 Pace Street. L¢mnmrml CO 80501
Apmls¢r C t uh ann-C't_Gen Anv wm PO Box7 8 Lcmcmnnt CO 80501
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10 Peak Eigl_tway, to the south by Eldora Road and to the west oy national forest land, .
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Schoois, limited employ_mcnt and some suburban amenities are located in Nederland, Additional employment and amenities are
located in Boulder. Nederlaod § o § rs go r_rl o opportunities Homes are g

 

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averang li construction and eofavera emarketa eal.Nederland serves aco uter a or ulde and the Denver

metro emplo)gr_ient areas. Police and fire protection is adequate

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***See Addil:ional Comments***

 

 

 

 

 

 

 

 

 

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Rocky Mountain Appra.isal Network

Case 1:17-Cv-01152-RB.]-I\/|EH Document 116 Filed 05/22/18 USDC Co|orado Page 19 of 57

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Rocky Mountain Appraisal Network

 

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narrower er elmer Verna M. Golz
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Bedroom Eledroom Bedroom Bath 24.2_

 

One~Car
Garage 24_2.

 

 

 

 

 

 

27.5' 27.6'
Wood
Living Room st°"° K“chen €
Dlning
12'
‘ 1a'
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9.9‘ ~ 9.8'
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FirstFloor 1224 152 38.5 X 27.5 = 1058.7
34.5 X 0.1 = 3.4
Garage/Carport 16.5 X 98= 161,7
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PHU lUGRAPH ADDENDUM
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Pmp¢nymrm 130 BeaEr Cxeek Dn`ve
ca1 Nededand (MailL cwmv Boulder sure CO zip<=o¢~ 80466
Lenaemc»m FNB Mdrtgagg CompMZHUD -
FRONT V|EW OF
SUBJECT PROPERTY
REAR V|EW OF
SUBJECT PROPERTY
STREET SCENE OF
SUBJECT PROPERTY

 

 

 

Rocky Mountain Appraisal Network

Case1:17-cv-01152-RB.]-I\/|EH Document 116 Filed O5/22/18

USDC Co|orado Page 22 of 57

 

 

 

 

 

 

 

 

PHOTOGRAPH ADDENDUM
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mmme 130 Beayer Creek Drivc .
dry Nederland (M`l) county Boulder Sww CO zrpc°d. 80466
Lmorcu¢m FNB Mortggge Comganv/HUD
COMPARABLE #1
755 West Fixst Street
Nederiand
PIice $227,500
Price/SF 245.68
Date 01/19/2001
Age 1967/34 Years
Room Count 7-2-.75
Living Area 926
vd..`xndlmum $240,800
COMPARABLE #2
49 Wildewood Dn`ve
Nededand (Mail)
Price $285,000
Price/SF - 259.09
Date 11/14/2001
Age 1 997/4 Years
Room Count 6-3-1.75
Living Area 1,100
Value lndleaiion $246,700
COMPARABLE #3_
250 Crcstwood Court
Nederland (Mail)
Pdce $299,000
Pn'ce/SF 213.57
Date 03/27/2001
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wma°~ner VemaM.Golz
PmpmyAddrws 130 Beaver Creek Dn`ye f 1

city Nederland(Mail) amy Boulder w CO zwpcod¢ 80466
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Bwnweror<d~ner Verna M. Golz .

 

mpg mms 130 Bea!cr Creek Drive

 

 

CRy Nederland(Mail) ¢uunfy Boulder S!aw CO umwa 80466
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Fms'r N‘ATroNAL BANK \/W)/"'ngj,@

401 MAlN ST - PO BOX 1159
LONGMONT, CO 80502
PHONE: 303-774-2932 won wu.soN- mason
/-? FAX: 303-774-2933¢\=»45 non'raAee-mmu a~r) é"

A'!"I°N: DON WILSON (FNB Mon'raAaE)

 

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Reverse Mortgage Comparison -‘ Se|ec#ed P|ans @

From:
non wilson

FNB Mortgagee
401 Maln Street
Longmont, 00 80501

P!wne: (303! 678€551 Fax: s303)_77_4-2933 _

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130 Beaver week Drive 4/26 16 75
Nederlnnd, 00 80466

 

 

 

 

 

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Prepgred for Verna Golz HUD Annual Program

 

 

 

 

 

 

 

 

LoAN 'rF.RMs Mova LoAN charles
Age of Youngest Borrower: 76 Monthly Servtoing Fea: $30.00
Appralsed Property Value: $246,000 Mortgage Insuranoe: 0.5% Annuully
lnlltat lnterat Rate: 4.33%
Mon\h\v Advanw $0-00 oTHEn witness
ln'itlal Draw: $28.000.00 Sharsd Appreclatlon: None
Llna of Credit: $105.523.21
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Other Closan Gosta: $6,485.00 Net Proceeds Estimated at
Mortgagelns. mm $4.165.00 sa%ofpro;acled Home sat
Annulty Cost: $9.00
Total Annual Loan Cost Rate
APPREclAnoN DlscLosuFlE PEnloD (vrs.)
RATE " 7 2 a ` 11 ` 15
o% 12.31% » ` 1.49% s.se% 6.03% _
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The cost of any reverse mortgage loan depends on how long you keep the loan and how much your
house appreciates ln value. Generally, the longer you keep a reverse mortgage. the lower the total
annual loan cost rate will be.

This table shows the estimated cost ot your reverse mortgage loan, expressed as an annual rate. lt
lllustrates the cost for four loan terms: 2 years, half of lite expectancy for mae your aga, that life
axpectancy. and 1.4 times that llfe expectancy. The table also shows the cost cl the loan, assumlng the
value ot your home appreolates at three different rates: 0%, 4% and 8%.

The total annual wst rates in thls table are based on the total charges assoclated with this loan.
These charges typr include ptlnclpa|, lnterest, closan costs, mortgage lnsuranoe premlums, annuity

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The rates in this table are estimated Your adual cost may dlffar lt, for example. the amomt of your
loan advances varies orthe lnterest rate on your mortgage changes. You may recelve pro§eotlons of
loan balances from counselors or lenders that are based on an expected average mortgage rate that
differs from the lnltia| interest rate.

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00 NOT REQU|RE VCU TO COMPLETE THlS LOAN

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At thc request of the lender. the
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opinion ot`valuo for the site only is estimated at $95.000, based on the sales compulsion method ofva]uation. The estimated
site value exceeds 30% ofthe total opinion of value for the subject property which is typical in_ the Bouldcr County market

The well is located on the north side ofthe house and the septic to the cast appra>dmzrtly 150 feet away.

Comp 2 is located roughly ll 1/2 miles southeast ofthe subject property The subject is not located directly in the Town of
Nedorlaud, therefore it is typical to expand the search for comparables to beyond the typical l-mile mdius. 1n this casc, there
were few resales of ranch style homes With similar square footage and on similar acreage within the Nedcrland area. The

Lasrly. title works shows a second lot owned by Ms. Verna Golz. That lot is Loi 2, Beaver Valley Bstates, and is
approximately l acra. It is separate n‘om the appraised pxopezty, I.oi 19, Beaver Valley F§wtes, which ia approximately 1 acre
and has the I,ZPA square foot home located them The lots have never been joined and have separate parcel numben and tax
identification nnmbere. ~ .

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State or Colorado ' ' ' FHA CmNo~ 052-1965070/255

7002937-711|
' ADJUSTABLE RATE
HOME E_QUITY CONVERSI(_)N DEED OF TRUST

THIS DEEl_J OF Ti{UST ("Security lnstrumcnt") is made on JANUAR\' 18, 2002 , among the grantor
VERNA M. GOLZ ,A SlNGLE PERSQN ~

whose address is 130 BEAVER CREEK DRIVE, ’
NEDERLAND, COLORADO 80466 ("Borrower"),
the Public Trustce of BOULDER County ("Trustec") and the beneficiary,
l"lNANClAL FREEDOM SENlOR FUNDlNG CORPORAT]ON , A SUBSlDlARY OF LEH.MAN BROTIlERS
B/\NK, FSB ` , which is
organized and existing under the laws of THESTATE OF DELAWARE , and whose address is
7840 ROSWELL. ROAD BUlLDlNG 300 SUl'I`E 340, ATLANTA, GEORGIA 30350 _

' ("l.ender"). Borrower has agreed to repay to Lender
amounts which Lender is obligated to advance, including future advances, under thc term_s of a Home Equity
Couversion Loan Agreement dated thc same date as this Sccurity lnstrument("Loan Agrecnient“). The agreement
to repay is evidenced by Borrower's Notc dated the same date as this Security lnslrumcnt ("Note"). This Security
lustrumcnt secures to Lendcr: (a) the repayment of the debt evidenced by the Notc, with interest at a rate subject
to ndjustment, and all renewals, extensions and modifications of the Note, up to a maximum principal amounl_of
'l'ulu;n HuNDREn sth\' Nuva moust AND 00/100---------~------------' --------------------
(U.S. $ 369,0[)0_00 ); (b) thc payment of all other sums, with interest, advanced under Paragruph 5 lo
protect the security of this Sccun'ty |nstrument or otherwise due under the terms of this Security lnstrument; and
(c) the performance of Borrower’s covenants and agreements under this Security instrument and the Note. The `
l`u|l debt, including amounts described in (a), (b), and (c) nbove, if not paid earlier, is due and payable on

|\|,\y 04 , 2076. For this purposc, Borrower, in consideration of the debt and the trust herein créutcd,
irrevocably grants and conveys to Trustee, in trusl, with power of sale, the following descril_:ed property located in
BOULDER County, Colorado:

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PARCEL A: LOT 2, BEAVER VALLEY ESTATES, PARCEL B: LOT‘ 19, BEAVE_R _ /)/
VALLEY ESTATES, COUNTY' OF BOULDER, STATE OF COLORADO. - g

which has the address of 130 BEAVER CREEK DRlVE
l [Slreet]

NEDERLAND ' ' , COLORADO 80466, ("l’roperty Address");
tenn _ israel {zrpcn<m _

TOGETHER WlTl-l all the improvements now or hereafter erected on the property, and all easements, rights,
appurtenances, and fixtures now or hereafter a part of` the property. All replacements and additions shall also`be
covered by this Sccurity lnstrument. All of the foregoing is referred _to in this Security lnstrument as the
"l’roperty." \ _

BORROWER COVENANTS that Borrower is lawfully seiscd ol` the estate hereby conveyed and has the right
to grant and convey the Property and that the Property is unencumbered Borrower warrants and will defend
generally the title to the Property against all claims and demands, subject to any encumbrances of rccord. '

Tl_llS SECURITY lNSTRUMENT combines uniform covenants for national use and non-uniform covenants
with limited variations byjurisdiction to constitute a uniform security instrument covering real property.

UNlFORM COVENANTS. Borrower and Lender covenant and agree as follows:

l. Payment of Prlrtclpal and lnterest. Borrower shall pay when due the principal of`, and interest on, the
debt evidenced by tllc Note. . '

2. Payment of Property Charges. Borrower shall pay all property charges consisting of taxcs, ground rents,
flood and hazard insurance premiums, and special assessments in a timely manner, and shall provide evidence of
payment to Lender, unless Lender pays property charges by withholding funds from monthly payments due to the
Borrower or by charging such payments to a line ol` credit as pr_ovidcd for in the Loan Agrcement. _ `

3. Flre, Flood and Other llazard Insurance. Borrower shall insure all improvements on the Property,
whether now in existence or subsequently erected, against any hazards, casualties, and contingencies, including
lirc. This insurance shall be maintained in the amounts, to the extent and for the periods required by Lender or
the Secretary of Housing and Urban Development ("Sccrctary"). Borrower shall also insure all improvements on
the Property, whether now in existence or subsequently erected, against loss by floods to the cxtent.required by
the Secretary, All insurance shall be carried with companies approved by Lender. The insurance policies and any
renewals shall be held by Lender and shall include loss payable clauses in favor of, and in a form acceptable to,
Lender. ' ' _ ` ~ '

ln the event of loss, Borrower shall give Lender immediate notice by mail. Lender may make proof of loss if`
not made promptly by Borrower. Eaeh insurance company concerned is hereby authorized and directed to make
payment for such loss to Lender instead of` to Borrower and to Lenderjointly. lnsurance ceeds shall be applied
to restoration or repair of` the damaged Property, if tlte restoration or repair is cconomi

- security is not lessened. lf` the restoration or repair is not economically feasible o

       

 

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lessened, the insurance proceeds shall be applied first to the reduction of any indebtedness under a Second Note (Z) , 77
and Second Security instrument held by the Secretary on the Property and then to the reduction of the
indebtedness under the Note and this Security lnstrument. Any excess insurance proceeds over an amount
required to pay all outstanding indebtedness under the Notc and this Security instrument shall be paid to the entity
legally entitled thereto.
ln the event of foreclosure of this Security instrument or other transfer of title to the Property that extinguishes
the indebtedness, all right, title and interest of Borrower in and to insurance policies in force shall pass to the
pnrchaser.
4. Oecnpancy, Preservation, Mulntenanee and Protectlon' of the Property; Borro\ver's Loan
Applleation; Leaseholds. Borrower shall oceupy, establish, and use the Property as Borrowcr's principal
residence after the execution of this Security lnstruntent, and Borrower (or at least one Borrower, if initially more
than one person are Borrowers) shall continue to occupy the Property as Borrower’s principal residence for the
term of the Security lnstrument. "Principal residence" shall have the same meaning as in the Loan Agreement.
Borrower shall not commit waste or destroy, damage or substantially change the Property or allow the
Property to dcterioxate, reasonable wear and tear exceptcd. Borrower shall also be in default if Borrower, during
the loan application process, gave materially false or inaccurate information or statements to Lender (or failed to
- provide Lender with any material informalion) in connection with the loan evidenced by the Note, ineluding, but
not limited to, representations concerning Borrowcr's occupancy of the Property as a principal residence. lf this
Security lnstrument is on a leasehold, Borrower shall comply with the provisions of the lease. lf Borrower
acquires fee title to the Property, thc leasehold and fee title shall not be merged unless Lender agrees to the
merger in writing. ~ '

5. Charges to Borrower and Protection of Lender’s Rights ln the Property. Borrower shall pay all
governmental or municipal eharges, fines and impositions that are not included in Pa.ragraph 2. Borrower shall
pay these obligations on time directly to the entity which is owed the payment. lf failure to pay would adversely
affect Lender’s interest in the Property, upon Lender’s request Borrower shall promptly furnish to Lender receipts
evidencing these payments. Borrower shall promptly discharge any lien which has priority over this Security
lnslrument in the manner provided in Paragraph lZ(c).

lf Borrower fails to make these payments or the property charges required by l’aragraph 2, or fails to perform
any other covenants and agreements contained in this Security lnstrument, or there is a legal proceeding that may
significantly affect Lender’s rights in the Property (sueh as a proceeding in bankruptcy, for condemnation or to
enforce laws or regulations), then Lender may do and pay whatever is necessary to protect the value of the
l’ropcrty and Lender’s rights in the Property, including payment of taxes, hazard insurance and other items
mentioned in Paragraph 2. '

To protect Lender’s security in the Property, Lender shall advance and charge to _Borrower all amounts due to
the Secretary for the Mortgage insurance Premium as defined in the Loan Agrcement as well as all sums due to
the loan servicer for servicing activities as defined in thc Loan Agreement. Any amounts disbursed by Lender
under this Pa_ragraph shall become an additional debt of Borrower as provided for in the Loan Agreement and
shall be secured by this Security lnstrument. '

6. lnspeet|on. Lender or its agent may enter on, inspect or make appraisals of the Property in a reasonable -
. manner and at reasonable times provided that Lender shall give the Borrower notice prior to any inspection or

appraisal specifying a purpose for the inspection or appraisal which must be related to Lender’s interest in the '
l’roperty. if the property is vacant or abandoned or the loan is in default, Lender may ta_ke reasonable action to
protect and preserve such vacant or abandoned Property without notice to the Borrowcr.
7. Condemnatlon. The proceeds of any award or claim for da'magcs, direct or conscquentia|, in connection

’ with any condemnation or other taking of any part of the Property, or for conveyance in place of condemnation
shall be paid to Lendcr. The proceeds shall bc applied first to the reduction of any indebted ss under a Second
ane and Second Security instrument held by. the Secretary on the Property, and then t the reduction of the
indebtedness under the Note and this Security lnstrument. Any excess proceeds over an a unt required to pay all

' outstanding indebtedness under the Note and this Security lnstrument shall be paid to e entity legally entitled
thereto. '

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8. Fees. Lender may collect fees and charges authorized by the Secretary. ~
9. Grounds for Acceleratlon of Debt. '
{a) Due and Pnyable. Lender may require immediate payment in full of all sums secured by ihis Security § y
instrument if: ` ~ -
(i) A Borrower dies and the Property is not the principal residence of at least one surviving Borrower; or
(ii) All ofa Borrower's title in the Property (or his or her beneficial interest in a trust owning all or part of
the Property) is sold or otherwise transferred and no other Borrower retains title to the Property in fee
simple or_ retains a leasehold under a lease for less than 99 years which is renewable or a lease having a
remaining period of not less than 50 years beyond the date of the 100th birthday of the youngest Borrower
or retains a life estate (or retaining a beneficial interest in a trust with such an interest in the Property). '
(b) Due and Payable with Secretary Approva|. Lender may require immediate payment_in full ofall
sums secured by this Security lnstrument, upon approval of the Secretary, if:
(i) The Property ceases to be _the principal residence of a Borrower for reasons other than death and the
Property is not the principal residence ofat least one other Borrower; or _
(ii) For a period of longer than twelve (lZ) consecutive months, a Borrower fails to occupy the Property
because of physical or mental illness and the Property is not the principal residence of at least one other
Borrower; or
(iii) An obligation of the Borrower under this Security instrument is not pcrfonned.
(c) Notlce to Lender. Borrower shall notify Lender whenever any ofthe events listed in this Paragraph (a)
(ii) or (b) occur.
(d) Notice to Secretary and Borrower. Lender shall notify the Secretary and Borrower whenever the loan
becomes due and payable under Paragraph 9 (a) (ii) or (b). Lender shall not have the right to commence
Foreclosure until Borrower has had thirty (30) days after notice to either.' '
(i) Corrcct the matter which resulted in the Security instrument coming due and payab|e; or
.(ii) Fay the balance in full; or
(iii) Sell the Property for the lesser of the balance or 95% of the appraised value and apply the net
proceeds of the sale toward the balance; or ~ -
(iv) Provide the Lender with a deed in lieu of foreclosure, .
(c) 'l'rusts. Conveyance of a Borrower's interest in the Property to a trust which meets the requirements of
the Secretary, or conveyance of a trust’s interests in the Property to a Borrower, shall not be considered a
conveyance for purposes of this Paragraph 9. A trust shall not be considered an occupant or be_eonsidered as '
having a principal residence for purposes of this Faragraph 9. ' ,
(i) Mortgage Not lnsured. Borrower agrees that should this Security instrument and the Note not be
eligible for insurance under the National Housing Act within SIXTY DA\'S _ from the
date hereof, if permitted by applicable law Lender may, at its optionl require immediate payment in full of
all sums secured by this Security lnstrument. A written statement of any authorized agent of the Secretary
dated subsequent to SIX'I'Y DAYS from the date hercof, declining to insure this Security
instrument and the Note, shall be deemed conclusive proof of such ineligibility. Notwithstanding the
fcregoing, this option may not be exercised by Lender when the unavailability of insurance is solely due to
Lender’s failure to remit a mortgage insurance premium to thc Secretary. .

l0. No Deticlencydudgmellts. Borrower shall have no personal liability for payment of the debt secured by
this Security lnstrumcnt. Lender may enforce the debt only through sale of thc Propeny. Lender shall not be
permitted to obtain a deficiency judgment against Borrower if the' Security instrument is foreclosed. If this
Security instrument is assigned to the Sec`retary upon demand by the Secretary, Borrower shall not be liable for
any difference between the mortgage insurance benefits paid to Lender and the outstanding indebtedness,
including accrued interest, owed by Borrower at the time ofthe assignment. _

|l. Relnstntement. Borrower has a right to bc reinstated if Lender has required immedia payment in full.
'l'|lis right applies even after foreclosure proceedings are instituted. To reinstate this ccurity lnstrument,
Borrower shall correct the condition which resulted _in the requirement for immediate pay ent in full. Foreclosurc
costs and reasonable and customary attorneys' fees and expenses properly associa d with the foreclosure

04)(/\: 11/98 . ` Page 4

 

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proceeding shall be added to the principal balance. Upon reinstatement by Borrower, this Security instrument and <6 l
thc obligations that it secures shall remain in effect as if Lender had not required immediate payment in full.
llowever, Lender is not required to permit reinstatement if: (i) Lender has accepted reinstatement alter the
commencement of foreclosure proceedings within two years immediately preceding the commencement of a
current foreclosure proceeding, (ii) reinstatement will preclude foreclosure on different grounds in the future, or
(iii) reinstatement will adversely affect the priority of the Security instrument.
12. Llcn Status. - '
(a) Modii`lcation. Borrower agrees to extend this Security instrument in accordance with this Paragraph
lZ(a). if Lender detemrines that the original lien status of the Security instrument is jeopardized under state
law (in`ciuding but not limited to situations where the amount secured by the Security instrument equals or
exceeds the maximum principal amount stated or the maximum period under which loan advances retain the
same lien priority initially granted to loan advances has cxpired) and state law permits the original lien status
to be maintained for future loan advances through the execution and recordation of one or more documents,
then Lender shall obtain title evidence at Borrower's expensc. if the‘title evidence indicates that the Property
is not encumbered by any liens (except this Security instrument, the Second Security instrument described in
Paragraph 13(a) and any subordinate liens that the Lender determines will also be subordinate to any future
- ' ' loan advances), Lender shall request the Borrower to execute any documents necessary to protect the lien .

1 status of future loan advances. Borrower agrees to execute such documents if_` state law does not permit the
original lien status to be extended to future loan advances, Borrower will be deemed to have failed to have
performed an obligation under this Security instrument.

(b) Tax Deferrnl Progrants. Borrower shall not participate in a real estate tax deferral program, if any ' `
liens created by the tax deferral are not subordinate to this Security instrument.

(c) Prior Liens. Borrower shall promptly discharge any lien which has priority over this Security
instrument unless Borrower: (a) agrees in writing to the payment of the obligation secured by tile lien in a
manner acceptable to Lcnder; (b) contests in good faith the lien by, or defends against enforcement of the
lien in, legal proceedings which in the Lender’s opinion operate to prevent the enforcement of the lien or
forfeiture of any part of the Property; or (c) secures from the holder of the lien an agreement satisfactory to
Lender subordinating the lien to all amounts secured by this Security instrument. if Lender determines that
any part of the Property is subject to a lien which may attain priority over this Security instrument, Lender
may give Borrower a notice identifying the iien. Borrower shall satisfy the lien or take one or more of tile
actions set forth above within 10 days of the giving of notice.

13. Relatlonsl\ip to Second Security instrument. _

(a) Second Security instrument. in order to secure payments which the Secretary may make to or on
behalf of Borrower pursuant to Section 255(i)(i)(A) of the Nationai i-iousing Act and the Loan Agreement,
the Secretary has required Borrower to execute a Second Note and a Second Security instrument on the
Property.
(b) Relationshlp of First and Second Security lnstruments. Paymcnts made by the Secretary shall not bc
included in the debt under the Note unless:
(i) This Security instrument is assigned to the Secretary; or `
(ii) The Secretary accepts reimbursement by the Lender for all payments made by the Secretary._
lt`the circumstances described in (i) or (ii) occnr, then all payments by the Secretary, including interest on
thc payments. but excluding late charges paid by the Secretary, shall be included in the debt under thc Notc.
(c) Eii`ect on Bor'ro\ver. Wherc there is no assignment or reimbursement as described in (b)(i) or (ii) and
the Secretary makes payments to Borrower, then Borrower shall not: ' -
(i) Bc required to pay amounts owed under the Note, or pay any rents and revenues of t e'?roperry under
Paragraph 19 to Lender or a receiver of the Property, until the Secretary has required yment in full of ali
outstanding principal and accrued interest under the Second Note; or
(ii) Be obligated to pay interest or shared appreciation under the Note at any tim , whether accrued before
or alter the payments by the Secretary, and whether or not accrued interes las been included in the '
principal balance under the Note.
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(d) No Duty of the Secretary. The Secretary has no duty to Lender to enforce covenants of the Second 34
Security instrument or to take actions to preserve the value of the Property, even though Lender may be

' unable to collect amounts owed under the Note because of restrictions in this Paragraph i3. ~

t4. Forbearance by Lender Not a Waiver. Any forbearance by l,.ender in exercising any right or remedy
shall not be a waiver of or preclude thc exercise of any right or rcmcdy. `

15. Succeasors and Assigns Bound; Joint and Several Llability. The covenants and agreements of this
Security instrument shall bind and benth the successors and assigns of Lender. Borrower may not assign any
rights or obligations under this Security instrument or under thc Note, except to a trust that meets thc
requirements of_the Secretary. Borrower's covenants and agreements shall be joint and severai.

16. Notices. Any notice to Borrower provided l`or in this Security instrument shall be given by delivering it
or by mailing it by first class mail unless applicable law requires use of another method. The notice shall be
directed to the Property Address or any other address ali Borrowers jointly designatc. Any notice to Lender shall
he given by first class mail to Lender’s address stated herein or any address Lender designates by notice to
Borrower, Any notice provided for in this Security insimment shall be deemed to have been given to Borrower or
Lender when given as provided in this Paragraph i6.

17. Governing La\v; Severabiiity. This Security instrument shall be governed by Federai law and thc law of
thc jurisdiction in which the Property is located. in the event that any provision or clause of this Security
instrument or the Note conflicts with applicable iaw, such conflict shall not affect other provisions of this Security
instrument or the Note which can be given effect without the conflicting provision. To this end the provisions of
this Security instmment and the Note are declared to be severable.

|8. Borrower's Copy. Borrower shall be given one conformed copy of the Note and this Security

NON-UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:

i9. Asstgnmcnt of Rents. Borrower unconditionally assigns and transfers to Lender all the rents and
revenues of the Property. Borrower authorizes Lender or Lender’s agents to collect tile rents and revenues and
hereby directs each tenant of the Property to pay the rents to Lender or Lender’s agents. However, prior to
l.cnder's notice to Borrower of Borrower's breach of any covenant or agreement in the Security lnstrument,
Borrower shall collect and receive all rents and revenues of the Property as trustee for the benefit of Lender and
Borrower. This assignment of rents constitutes an absolute assignment and not an assignment for additional
security oniy. ' ` _ '

if Lender gives notice of breach to Borrower: (a) ali rents received by Borrower strait be held by Borrower as
trustee for benth of Lender only, to be applied to the sums secured by this Security lnstrument; (b) Lender shall
bc entitled to collect and receive ali of the rents of the Property; and (c) each tenant of the Property shall pay ali
rents due and unpaid to i_.endcr or Lender’s agent on Lender’s written demand to the tenant.

Borrower has not executed any prior assignment of the rents and has not and will not perform any act that
would prevent Lender from exercising its rights under this Paragraph i9. '

Lender shall not be required to enter upon, take control of or maintain the Property before or alter giving
notice of breach to Borrower, However, Lender or ajudiciaiiy appointed receiver may do so at any time there is a
breach. Any application of rents shall not cure or waive any default or invalidate any other right or remedy of
Lcl\der. This assignment of rents of the Property shall terminate when the debt secured by this Security instrument _
is paid in fuli.

20. Foreclosure Procedurc. li' Lender requires immediate payment in full under Paragraph 9,'Lender
may invoke.tlle power of sale and any other remedies permitted under applicable ia\v. Lender strait be
entitled to collect ali expenses incurred in pursuing the remedies provided in this Paragraph 20, lncludlng,
l)ut not limited to,.reasonabic attorneys' fees and costs ol'iitic evidencc.

if Lender invokes the power of saie`, Lender shall give written notice to Trustce of the cc rrence of an
event of default and of Lender’s election to cause the Property to`be suid. Lender shai all§`copy of tile
notice to Borrower as provided in Paragraph iG. Trustee shall record a copy ofthe n tice in c county in
\\hich the Property is located. Trustee shall publish a notice of sale for the tin and in the manner
provided by applicable law and shall mall copies of thc notice of'saie in the manner prescribed by
applicable law to Borrower and to the other persons prescribed by applicant \ . e itc time required

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. / ,
i)_v applicable law, Trustee, without demand on Borrower, shall sell the Property at public auction to the (g- :}
highest bidder l'or cash at the time and place and under the terms designated in the notice o|' sale in one or
more parcels and in any order Trustee determines. Trustee may postpone sale of any parcel of the

Property by public announcement at the time and place ol' any previously scheduled sale. Lender or its
designee may purchase the Property at any sale.

Trustee shall deliver to the purchaser Trustee's certificate describing the Property and the time the
purchaser wilt bc entitled to Trustee's decd. The recitals in the Trustce's deed shall be prima facie evidence
ol` the truth of the statements made thereln. Trustee shall apply the proceeds of the sale in the following
urder: (a) to ali expenses ol' the saie, inciuding, but not limited to, reasonable Trustee's and attorneys‘ fees;
(b) to all sums_ secured by this Security instrument; and (c) any excess to the person or persons iegaily'
entitled to it.

Zl. Lien Priorlty. 'i`he full amount secured by this Security instrument shall have the same priority over any
other liens on the Property as if the full amount had been disbursed on thc date the initial disbursement was madc,
regardless of thc actual date of any disbursement. The amount secured by this Security instrument shall include all
_dircct payments by Lender to Borrower and all other loan advances permitted by this Security instrument for any
purpose. This lien priority shall apply notwithstanding any State constitution, law or regulation, except that this

lien priority shall not affect the priorty of any liens i`or unpaid State or local governmental unit special
assessments or taxcs.

ZZ. Adjustahie Rate Feature. Under the Notc, the initial stated interest rate oi' 4.2300 % winch accrues
on the unpaid principal balance ("inilial interest Ratc") is subject to ehange, as described beiow. When the interest
rate ehanges, the new adjusted interest rate will be applied to‘the total outstanding principal baianee. Eaeh
adjustment to the interest rote_wiil be based upon the weekly average yield on United States 'i'reasury Securities
adjusted to a constant maturity of one year, as made available by thc Fedcral Rcserve Board in Statisticai Reiease
ll. i5 (519) ("lndex") plus a morgin. if the index is no longer availabie, Lender will usc as a new index any index
prescribed by the Secretary. Lender will give Borrower notice of the new lndex.

Lender will perform the calculations described below to determine the new adjusted interest ratc. The'interest `
rule may change on the first day of FEBRUAR\’, 2003 . and on m that day ol`cach succeeding year

the lirst day ofeach succeeding month ("Change Date") until the loan is repaid in fui|.

'l`i\e value of the index will be determincd, using the most recent index figure available thirty (30) days before
the Change Date ("Current index"). Before each Change Date, the new interest rate will bc calculated by adding a
margin to the Current indcx. The sum of the margin plus the Currcnt index will be called the "Caiculated interest
Rate“ for each Changc Date. The Caleulated interest Rutc will be compared to the interest rate in effect
immediately prior to the current Change Date (the "i:`.xisting interest Rate").' .

(Annuniiy Adjusting Variabie Rate Featurc) The Caiculated interest Rate cannot be more than 2.0%
higher or lower than the Existing lnterest Rate, nor can it be more than 5.0% higher or lower than the lnitiai
interest Rate. . '

Ei (Monthiy Adjnsting Variabie Rate Featurc) The Calculatcd interest Ratc will never increase above

percent( %).

The Colcu|atcd interest Rate will be adjusted if necessary to comply with these rate limitation(s) and will be in
cchct until the next Change Date. At any Chauge Date, if the Caiculated interest Ratc c_quals the Existing interest
itatc, the interest rate will not change. . v `

23. Lender in Possession. Upon acceleration under Paragraph 9 or abandonment of the Property, Lender (in
pcrson, by agent or by judicially appointed receivcr) sha_li be entitled to enter upon, take possession of and
manage the Property and to collect the rents of thc Property including those past due, Any rents collected by
Lender or the receiver shall be applied first to payment ofthe costs of management ofthe Property and collection
ol`rcnts, inciuding, but not limited to, receivcr's l`ces, premiums bn rcccivcr's bonds and reasonable attorneys' l`ces,
and then to the sums secured by this Security instrument. '

Zd. Relense. Upon payment of all sums secured by this Security instrument, Lender shall r uest that Trustee .
release this Security instrument and shall produce for Trustee, duly cancelled, ali notes e_vi ncing debts secured
by this Security instrument. Trustee shall release this Security instrument without furt cr inquiry or linbility.
Borrower shall pay any recordation costs and the statutory Trustee's fees.

25. Walver oi’ Homestcad. Borrower waives ali right of homestead exempti
QdXB : 05I91 Page 7 of8

 
 

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. . ‘ . /<Z
`26. Riders to this Security Instrument. lf one or more riders arc executed by Borrower and recorded '%,/

_ lnstrument, the covenants of each such rider shall be incorporated into and shall amend
ty instrument as if the rider(s) were a partlof this

together with this Security
and supplement the covenants and agreements of this Securi

Security lnstrument. [Check applicable box(cs).]
Condominium Rider' m Shared Apprcciation Rider m Planned Unit Development Rider
Other (Specify) -

BY SlGNlN_G BELOW, Borrower accepts and agrees t
any ridcr(s) executed by Borrower and recorded with it.

e terms contained in this Security Instrument and in
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The foregoing instrument was ackno;»\/\ladgq;;hq§y,l;e me this JANUARY 18', 2002
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VERNA M. GOLZ ‘
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FORM AFPROVED QMB NO. 2502-0255

 

 

 

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C. NOTE: This form ts nameth to give you n statement elam/ul settlementenss. Amaunts paid to sndby he settlement agent am shown

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D. mmDm§'o't-‘§ORROWER: '
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F. NAME AND ADE§ES § W:
F|NANC|AL FREEDC|M SENIDR FUND!NG CORPORATWN ,A SUBSIDIMY OF LEHMAN BRUTHERS BANK. FSI
1140 ROSNE.LL RGAD EUtLDtNG 300 SINTE 340, ATLANYA. G!DRGIA 10150

G. PROPERTY LOCATm: .

‘130 BEAVER L`REEK DRNE, NEBERI.AND, CoLDRADQ !Mttl '
H. SETTL.EM AGENT! FMY AHENCAN HENYABE

 

 

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U.S. DEPARTMENT 0F HDUSING AND URBAN DEVE.°PMENT

 

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|h:vn prepared the HUD-1 Setllement StatemenL

 

Eompany

The HUD-1 Settlement Statement ls a run and accurate omit
accordancst thb statement

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$E¥TLEMENT STATEMENT

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SETTLEMENT

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ADDENDU]V.[ TO HUD-1 SE'I`TLEIV.[ENT STA'I'EN[ENT

CERTIFICATION OF BORROWER lN AN FHA-INSURED HECM
(HOME EQUITY CONVERSION MORTGAGE) LOAN TRANSACTION

1

l have carefully reviewed the HUD-l Settlement Statement, and to the best of my knowledge and belicf, it is a n'ue and accurate
, statement of all receipts and disbursements made on my account or by me in this transaction l further certify that l have received a
copy of the HUD-1 Settlement Statement

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-Bor_rower

 

-Bormwer

 

-Bonnwer

Date:

 

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CERTIFICATION OF SETTLEI\IENT AGENT IN AN FHA-mst HECM
(HOME E_QUITY CONVERSION MORTGAGE) LOAN TRANSACTION

To the best of my knowledge, the HUD-l Settlement Statement which I have prepared is a true and accurate account of the
funds which were rcceived, and have been or will be disburscd, by the undersigned as part of the settlement of this transaction.

l

 

 

Settlement Agent Date

[The certificatith contained herein may be obtained from the respective parties at different times or may be obtained on separate
addenda.]

Warnlng: lt is a crime to knowingly make false statements to'the United States on this or any other similar form. Penalties upon
conviction can include a fine and imprisonment For details, see Tit]e 18 U.S. Code Sections 1001 and 1010.

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WHEN RECORDED MAlL TO

Financial Freed m’Acqiiisiuon LLC

Meredith ro

(Clai &Assignments) ' mm May
f 0 Esperanza Crosslng 3

Austin, TX 78759

PREPARED BY Kathy Honeycutt
Telephone Number (512) 918-7557
FHA Loan Number 052-1965070
MERS MlN No 100854800070029372
PlN# R0023853

‘CORPORAT!ON ASSlGNMENT OF DEED OF TRUST
[MERSIFF TO FHA]

Foi’ value received MORTGAGE ELECTRONIC REG|STRAT|ON SYSTEMS lNC ( MERS) A DELAWARE
CORPCRA`HON ITS SUCCESSORS OR ASSlGNS AS NOM|NEE FOR FlNANCtAL FREEDOM A DIVISION OF
ONEWEST BANK FSB 2900 ESPERANZA CROSS|NG AUSTIN TEXAS 78758 (FF) does hereby grant sell
assign transfer and convey unto the SECRETARY OF HOUSlNG AND URBAN DEVELOPMENT (451 7"'H Street
SW Washington DC 20410) ( Assignge ) all of FF s right title and interest in to and under the DEED OF TRUST
dated JANUARY 18 2002 and executed by VERNA M GOlZ A SINGLE PERSON to and in favor of FlNANClAL
FREEDOM SEN|OR FUNDING CORPORAT\ON A SUBSlDlARY OF LEHMAN BROTHERS BANK FSB and
recorded on JANUARY 25 2002 iri BOULDER County State of COLORADO document number 2246751 (the
DEED OF TRUST) which encumbers property described on Exhibit A attached hereto and incorporated herein by
this reference
Property address 130 BEAVER CREEK DRlVE, NEDERLAND, CDLORADU 80466
TOGETHER WtTH the note(s) described er referred to in the DEED OF TRUST the money due or to become due
thereon with interest and all rights accrued orto accrue under said DEED OF TRUST
THE FQREGO!NG ASS|GNMENT IS MADE WlTHOUT RECOURSE OR WARRANTY B\’ FF except that FF
hereby warrants that (a) no act or omission cf FF has impaired the validity and pnonty cf the said security
instruments (b) the security instrument is a good and valid first lien and is prior to all mechanics and matenatrnens
liens iiled of record regardless of when such liens attach and prior to all liens encumbrances or defects which may
arise except such liens or other matters as have been approved by the Assignee hereunder (c) the sum of
$369 000 00 together with the interest from the 18111 day of JANUARY 2002 at the rate of 4230% computed as
provided in the credit instrument is actually due and owing under the said credit mstiument and (d) FF has a good
right to assign the said security and credit instruments
lN WlTNESS WHEREOF the undersigned has executed this Corporation Assignment of DEED OF TRUST on
December 9 2011

 
 

MORTGAGE ELECTRONlC REG|STR TION S . S INC AS NDMlNEE FGR
FlNANClAL FRCEDOM A DlV|SlON F ONEW BANK FSB

 

By

Name v LYN Nii_Es / Tiiie AssisrAi~rr sEcRE'rARY
STATE OF TEXAS -
COUNTY OF TRAV|S
On De§mber 9, 2011 before me Bll___l=l§ ANN ALFEBEZ a notary public in and for TRAVlS County in the State

of TEXAS personally appeared V LYN NlLES ASSISTANT SECRETARY for MORTGAGE ELECTRONIC
REG|STRATION SYSTEMS lNC AS NOMINEE FOR FINANCIAL FREEDOM A DlV|SlON OF ONEWEST BANK
FSB C/O 2900 ESPERANZA CROSS|NG AUSTIN TEXAS 78758 personally known to nieto be the person whose
name is subscribed to the within instrument and acknowledged to me that She executed the same in her authorized
capacity and that by her signature on the instrument the person or entity upon behalf of which the person acted
executed the instrument

WlTNESS my hand and official s

l BlLl. E AN 1 ALFEREZ
Signature Noiary Fiublie\$iaio ofTexas

My Commissicn Expires
December 02 2013

 

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Case 1:17-Cv-01152-RB.]-I\/|EH Document 116 Filed 05/22/18 USDC Co|orado Page 50 of 57

 

EXH[BIT “A”

PARCEL A .LOT 2, BEAVER VALLEY ES'I`ATES, PARCEL B LOT 19, BEAVER VALLBY
ESTATES, COUNTY OF BOULDER, STATE OF COLORADO

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Dtiurata Doko Vicc President

STATE OF t'LORlDA COUNTY OF HNF.LLAS

Ttic foregoing insuiuncin was veteran lodged before me TH!S t‘lTH DAY OF LOVEMBER m THE YEAR 2009
by DHURATA DOX\O personally known vs mo io be the VtCt" PRESIDBNT ol` I-`INANClAL FREEDOM
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To: THE HoNoRABLE JULIAN CAsTRo
US DEPARTMENT or HousiNG AND URBAN DEvELoPMENT
451 7TH STREET SW
WAsHINGToN, DC 20410

VIA: CERTIFLED MAIL NCi. 7013 2630 0000 8675 5292

CC: HELEN R KANovsKY, EsQ
HELEN.R.KANovsKY@HuD.Gov

IvERY W HIMES _
IvERY.W.HuviEs@HUD.Gov

VlA: EMAIL

CC: MARY ELLEN SPIECE, EsQ
JoN KITCHEL, EsQ

FRoM: WILLIAM GOLZ, PHD ~

29714 N 152"” WAY

ScoTrsDALE, AZ 85262-6942

WGoLz@ALuMNI.LsU.EDU

RE: HECM LoAN:
BoRRowER VERNA M GoLz
PROPERTY 130 BEAVER CREEK DRIvE
NEDERLAND, CO 80466

FUNDED DATE 01/24/2002
FHA CAsE No. 052-1965070

DATE: JANuARY 18, 2015

 

Dear Secretary Castro:

This is to follow up on my January 8, 2015 letter to you with references to documentation which I
hope will help illuminate for you the hardship my mother experienced in living with an inadequate well,
the extraordinary effort she invested in trying to avail herself of the means to drill a new well, and the
failure that greeted her efforts as a consequence of her vacant lot having been improperly encumbered on
the Deed of Trust for her Home Equity Conversion Mortgage (I-IECM) loan.

My mother's home was built in 1965 by Wes and Rita Weller, two of the developers of Beaver Valley
Estates. This was a time when the population density in the Rocky Mountains was low and government
oversight of building in unincorporated areas of Boulder County was minimal. My mother's was the first ,
home in the valley and remains the only one served by a hand-dug well (which depends upon the shallow
water table supported by Beaver Creek). By 2004, an ongoing drought plus 40 years of upstream
development which had brought a permanent change to the valley's hydrogeological conditions became
manifest as a receding water table which was causing my mother's well to run periodically dry.

For assistance, my mother turned to Karen Hoover, Community Care Coordinator for the Nederland
Area of Boulder County Aging Services Division. Ms. Hoover's letter of June 21, 2004 to the United
States Department of Agriculture (USDA), which accompanied the application she submitted for Rural
Development grant and loan assistance for my mother, stated:

(p. 1, par. 2) Ms. Golz is 78 years old. Her sole source of income is Social Security. To
supplement her income she has obtained a reverse mortgage and uses a line of credit to draw
down payments when required to meet her living expenses

(pp.l-2, par. 3) ...major expenditures are required for the following health and safety repairs to
` her home:

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To: THE HoNoRABLE JULIAN CAsTRo JANuARY 18, 2015 FROM: DR WILLlAM GoLz

--Due to a shrinking water table, a new well is required... At this time Ms. Golz is hauling her
drinking and cooking water in gallon jugs. She is bathing at the Nederland health club
(necessitating payment of a monthly membership fee).

--The septic tank was damaged when it was driven over by the truck that came to pump it
out... She actively pursued a settlement from the company for repairs but was eventually told
by them that she would need to take them to small claims court to obtain any payment

--The electrical wiring is 33 years old... She would feel more secure if an electrician
evaluated her wiring and any necessary safety modifications were made.

-The garage door needs to be replaced, as does a storm door on the house. .

--Shingles need to be replaced on the roof.

--The toilet is malfunctioning and she would like to replace it with a low-flow model.
(p 2) Enclosures: Uniform Residential Loan Application

Pursuant to Ms. Hoover's letter, Boyd Sheets from Boulder County's Division 1 of Water District 6
inspected my mother's hand-dug well and forwarded his Field Inspection Report dated July 13, 2004 to
the Offlce of the State Engineer, Colorado Division of Water Resources (DWR). My mother paid fees of
$480 to DWR for a Permit to Construct a Well (No. 258451) which was issued on July 29, 2004 and
expired on July 29, 2006.

Records show that during summer and fall of 2004 my mother obtained bids from well drillers and
other contractors for the repairs listed above. Ms. Hoover submitted the selected bids to Mr. Bob Miller at
USDA Rural Development in Greeley, Colorado (USDA-Greeley). A letter dated January 13, 2005 from
Ms. Linda Rousselle of USDA-Greeley stated that my mother's application had been approved. Then, on
March 4, 2005, my mother noted that USDA asked her to withdraw her application pursuant to their title
search which revealed that a debt of $369,000 was secured on the Deed of Trust by “Parcel A: Lot 2
Beaver Valley Estates, Parcel B: Lot 19 Beaver Valley Estates.” That secured debt exceeded the value of
the underlying security thus violating USDA requirements for their second-lien position.l

In her March 28, 2005 letter to Ms. Rousselle, my mother expressed her disappointment

While 1 appreciate very much the e]j"orts you and Bob Miller made on behalf of my application,...
1 also regret very much the effort that was required on my part to meet the USDA application
requirements as well as the anxiety I experienced about the liens and title search fee... 1 would
like to hear from you before I write to withdraw my application

My mother's notes state that when she contacted the Department of Housing and Urban Development
(HUD) to ask them to review her loan, the person with whom she spoke listened then explained that HUD
policies did not allow them to contact the lender on my mother's behalf. HUD provided my mother with
the phone number for Financial Freedom Senior Funding Corporation (Financial Freedom). Atter several
calls to Financial Freedom, my mother was connected to a loan specialist who stated he had reviewed her
file and found her loan to be “in compliance with all HUD lending guidelines.” When my mother asked
for a copy of everything in her file, the loan specialist.told her it was legally privileged information and
she would need to have an attorney request it in writing from Financial Freedom's corporate counsel,
whose address my mother recorded in her notes.

My mother met again with Ms. Hoover and with the Boulder County Housing Authority. Mr.
Christopher Hudak, Housing Counseling Coordinator, sent my mother a letter dated December 2, 2005 to
follow up on her counseling session. My mother's notes indicate that when HUD was called their response
was that my mother's HECM loan file was not in their possession and that HUD could not intervene with

' For a property valuation analysis, see my letter to you of November 8, 2014, pp. 1, 2.
2/ 3

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To: THE HoNoRABLE JULIAN CAsrRo JANUARY 18, 2015 FRoM: DR WILLIAM GoLz

the lender or interfere with a “valid Deed of Trust.” My mother's handwritten notes on a Boulder County
Housing Authority envelope with postage metered December 5, 2005 may help you understand how
dispiriting the prior year and a half had been for her:

Letter from Linda USDA Re. canceling Loan & Grant. The long Co. drought has caused the well
to go dry. Reverse mortgage was conceived to help seniors - realize a modicum of a hopeful
lifestyle. '

In May 2011, my mother retained an attorney in Nederland, Mr. Mark Cohen, whose office
communicated with HUD and Mr. Michael Miller, Lien Release Specialist at One West Bank, successor
to Financial Freedom. Mr. Miller's initial response was that he would verify the facts and, if Mr. Cohen
was correct in his assertions, advise his employer to release Lot 2. By the end of June, Mr. Miller had
stopped returning Mr. Cohen's emails and telephone calls. On July l, 2011, Mr. Cohen filed Case No.
llcv6836 in Boulder County Court in the matter of Verna Mae Golz v Financial Freedom and One West
Bank, One West Bank and the Secretary of HUD released their liens on July 20.2

In summary of the key facts: a lender-requested addendum to the appraisal report for the subject
property identified Lot 2 as vacant land, separate from the residential property, Lot 19, whose appraised
value alone had been used to determine the loan's principal limits.3 With disregard for the appraisal and
the addendum, the loan officer and reverse mortgage specialist at FNB Mortgage Company, Longmont
who originated the loan encumbered Lot 2 as security on the Deed of Trust (for the lender's and HUD's
benetit, in apparent violation of various state and federal laws and without disclosure on the settlement
statement). As a consequence of that improper lien, my mother was unable to obtain USDA assistance or
sell Lot 2. Over the span of years in which my mother's pleas went unanswered, she suffered the personal
hardship of an inadequate well and the economic costs of being deprived of the ownership of her property
only to then have to invest thousands of dollars to file suit to have the lender and the Secretary of HUD
release liens whose impropriety would have been plain to anyone willing to undertake a cursory
inspection of the loan documents

The improprieties seem so conspicuous and the consequences to my mother so serious that l am
writing with the respectful request that you address what oversight responsibility HUD could have
exercised to review my mother's I-IECM loan documents to determine whether or not her loan was in
compliance with HUD guidelines (including 2 USCS § 17152-20) with regard to the inclusion ofLot 2 as
security on the Deed of Trust.

Sincerely,

W

William Golz, PhD

2 Ibid., p. 2, fn. 2.
3 Ibid., pp. l, 2.

3/3

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CERTIFICATE OF §ERVICE .

I hereby certify thatI Will transmit the foregoing by U.S. mail for delivery to the Clerk of
Court Whom Will send notification of such filing to any party who has entered an appearance in`
this matter to the email addresses on file with CM/ECF. I hereby further certify that l will send_the
foregoing to the following, named, non-CM/ECF participants (via the manner indicated in

parentheses):

Marcus J. Golz (U.S. Mail and email)
552 Hillsdale Street
Helena, Montana 59601

golzmj@gmail.com

Matthew J. Golz (U.S. Mail and email)
565 Congress Avenue

Havre de Grace, Maryland 21078
threecando@gmail.com

DATED at Scottsdale, Arizona this 213t day of May, 2018,

s/William J. Golz
William J. Golz, Ph.D.
Defendant, pro se

CaSe 1:17-Cv-01152-RB.]-I\/|EH Document 116 Filed 05/22/18 USDC Co|orado Page 57 of 57

ATTN Civil Action No. 17-cv-1152-RBJ-1V[EH
DATE May 21, 2018

To Clerk's Office
Alfred A. Arraj United States Courthouse
Room A-105
901 19th Street
Denver, Colorado 80294-3589
Phone: (303) 844-3433

VIA U.S. Priority Mail Express

FRoM William J. Golz, Ph.D. W’
Defendant, pro se
29714 N. 152nd Way
Scottsdale, AZ 85262-6942
Phone/Fax: (480) 816-5019
Email: wgolz@alumni.lsu.edu

Re Benjamz'n S Carson, Secretary of Housing and Urban Development v. Estate of
Verna Mae Golz, et al., No 17-cV-1152 (D Colo).

 

This will transmit the pleading:

Reply in Support of Defendant's Motion to Dismiss the Estate as a Defendant
As practicable, please: (i) scan the enclosed pleading at high resolution so that the exhibit is
readable, and (ii) upload this pleading to the CM/ECF system on the day that you receive it such

that filing and service will be effectuated on the same date.

Thank you.

